Case 15-10086-jkf   Doc 38   Filed 06/23/15 Entered 06/23/15 14:21:20   Desc Main
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                      UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                 June 23,2015

To: Daniel L. Reinganum, Esq.
    117 Clements Bridge Road
    Barrington, NJ 08007

                                  In re: William J. O'Driscoll
                                  Bankruptcy No. 15-10086
                                  Adversary No.
                                  Chapter 13

      Re Motion for Relief from Stay

The above pleading was filed in this office on 4/8/15. Please be
advised that the following document(s) has (have) not been filed
as required pursuant to the Federal Rules of Bankruptcy Procedure
and/or the Local Rules of this court:

            ()      Affidavit
            ()      Certificate of Service
            ()      Certification of no response
            ()      Notice pursuant to Rule 9019
            ()      Notice pursuant to Rule 2002
            ()      Notice pursuant to Rule 3007.1
            ()      Proof of Claim number not noted on
                              objection pursuant to Rule 3007.1(a)
            ()      Proposed Order
            (x)     Stipulation
            ()      Certification of Default
            ()      $30.00 Filing Fee for Amendments
            ()      $25.00 Claims Transfer Fee
            ()      Other

In order for this matter to proceed to disposition, please submit
the above noted item(s) to this office within fourteen (14) days
from the date of this notice. Otherwise, the matter will be
referred to the Court.

                               Timothy B. McGrath
                               Clerk

                               By: __Eleanor Levin_______
                                     Deputy Clerk
status.frm
(rev. 2/04/14)
